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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-1306V
                                        UNPUBLISHED


    ROCHELLE LAMBRICK,                                       Chief Special Master Corcoran

                        Petitioner,                          Filed: November 8, 2019
    v.
                                                             Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                  Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                          Table Injury; Influenza (Flu) Vaccine;
                                                             Shoulder Injury Related to Vaccine
                        Respondent.                          Administration (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
petitioner.

Julia Marter Collison, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

        On August 28, 2018, Rochelle Lambrick filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury as a result of
an influenza (“flu”) vaccine administered to her on September 27, 2017. Petition at 1.
The case was assigned to the Special Processing Unit of the Office of Special Masters.

       On November 7, 2019, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, Respondent states that Petitioner’s “alleged injury is

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  I intend to post this decision on the United States Court of Federal Claims' website. This means the
decision will be available to anyone with access to the internet. In accordance with Vaccine Rule
18(b), petitioner has 14 days to identify and move to redact medical or other information, the disclosure of
which would constitute an unwarranted invasion of privacy. If, upon review, I agree that the identified
material fits within this definition, I will redact such material from public access. Because this unpublished
decision contains a reasoned explanation for the action in this case, I am required to post it on the United
States Court of Federal Claims' website in accordance with the E-Government Act of 2002. 44 U.S.C. §
3501 note (2012) (Federal Management and Promotion of Electronic Government Services).
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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consistent with a shoulder injury related to vaccine administration (‘SIRVA’) and thus,
finds this case to be compensable.” Id. Respondent further agrees that “[t]here were
no other causes identified for petitioner’s SIRVA. Records indicate that petitioner has
suffered the sequela of her injury for more than six months. Based on the medical
records outlined above, petitioner has met the statutory requirements for entitlement to
compensation.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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